            Case 1:23-cv-06709-JGLC                      Document 108              Filed 04/21/25          Page 1 of 1




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                               S OUTHERN D ISTRICT OF N EW Y ORK

    Gideon Rapaport


(List the full name(s) of the plaintiff(s)/petitioner(s).)                                   23    06709 (JGLC)(
                                                                                           _____CV________                        )
                                  -against-
                                                                                               AMENDED
                                                                                           NOTICE OF APPEAL
Ajay Srinivasan Iyer, Zachary George Garrett,

Richard Allen Eptein
(List the full name(s) of the defendant(s)/respondent(s).)



Notice is hereby given that the following parties: Gideon Rapaport


(list the names of all parties who are filing an appeal)


in the above-named case appeal to the United States Court of Appeals for the Second Circuit

from the             judgment            X order
                                                            entered on:       March 31, 2025
                                                                                (date that judgment or order was entered on docket)
that:
              Granted defendants Iyer and Garrett's Docket No. 53 Motion to Dismiss.

Dismissed all claims against defendant Epstein. Denied Motion to Disqualify Schaerr-Jaffe LLP.
(If the appeal is from an order, provide a brief description above of the decision in the order.)


     April 19, 2025                                                         /s/ Gideon Rapaport
                                                                                       *
    Dated                                                                  Signature

      Rapaport, Gideon
    Name (Last, First, MI)

     #627 1078 Summit Avenue Jersey City                                   NJ                              07307
    Address                                       City                     State                           Zip Code

      (862) 213-0895                                                        gideonrapaportlaw@outlook.com
    Telephone Number                                                       E-mail Address (if available)




*
 Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone
number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.
Rev. 12/23/13
